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 4
    ATTORNEYS FOR Defendant, Iris Stephanie Garcia
 5

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 7

 8                              UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA
10                                               *****
11
     UNITED STATES OF AMERICA,                   )    CASE NO: 1:13-CR-00136 AWI-BAM
12                                               )
             Plaintiff,                          )    ORDER         FOR        RETURN
13                                               PASSPORT
     v.                                          )
14                                               )
     IRIS STEPHANIE GARCIA,                      )
15                                               )
             Defendant.                          )
16                                               )    HONORABLE ANTHONY W. ISHII
17
                     The Indictment as to the above-named defendant having been Dismissed and the
18
     legal proceedings having been terminated;
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                     IT IS HEREBY ORDERED that the Passport posted in this matter on April 23,
20
     2013, [Doc #43] be returned to defendant IRIS STEPHANIE GARCIA’s attorney of record,
21
     Harry M. Drandell.
22
                     USA Passport No.: 035769937
23

24
     IT IS SO ORDERED.
25
          Dated:    October 28, 2016                     /s/ Lawrence J. O’Neill _____
26                                               UNITED STATES CHIEF DISTRICT JUDGE
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